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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )             8:08CR438
                                               )
               vs.                             )             ORDER
                                               )
TORONE RUSSELL,                                )
                                               )
                       Defendant.              )



       This matter comes before the Court upon Motion of the Plaintiff requesting permission to

file under seal its Motion for Disclosure (Filing No. 60).

       IT IS ORDERED that the Motion of the Plaintiff for permission to file under seal its Motion

for Disclosure (Filing No. 60), is granted.

       Dated this 1st day of April 2009.

                                                     BY THE COURT:



                                                     S/ F. A. Gossett III
                                                     United States Magistrate Judge
